Case 3:14-cr-00051-RGJ-KLH          Document 61       Filed 08/01/14      Page 1 of 1 PageID #:
                                           199



                           UNITED STATES DISTRICT COURT

                          WESTERN DISTRICT OF LOUISIANA

                                     MONROE DIVISION


UNITED STATES OF AMERICA                            CRIMINAL ACTION NO. 14-00051

VERSUS                                              JUDGE ROBERT G. JAMES

KIMBERLIA HARRIS                                    MAGISTRATE JUDGE HAYES

                                         JUDGMENT

        The Report and Recommendation of the Magistrate Judge having been considered, no

objections thereto having been filed, and finding that same is supported by the law and the record

in this matter,

        IT IS ORDERED that the Motion to Suppress, [Doc. No. 53], filed by Defendant

Kimberlia Harris, is hereby DENIED.

        MONROE, LOUISIANA, this 1st day of August, 2014.
